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                           UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


                                                      PLAINTIFF’S DISCLOSURE OF
                                                        EXPERT TESTIMONY AND
 HAROLD MARK TORBETT (A.K.A. MARK                     CERTIFICATE OF SERVICE OF
 TORBETT) and REGINA TORBETT
                                                      PLAINTIFF’S EXPERT REPORT
         Plaintiffs,

 vs.

 THE CITY OF OGDEN, OGDEN CITY POLICE
 DEPARTMENT, CODY MARSH, Z. MARTIN,
 T. WILLIAMS                                          Civil No. 1:16-cv-00044-BSJ
                                                      Judge: Hon. Bruce S. Jenkins
        Defendants.


       Plaintiffs hereby make the following disclosures and designations pursuant to Federal

Rules of Civil Procedure 26(a)(2):



 RETAINED EXPERT(S) WHO MAY BE USED TO PRESENT EVIDENCE AT TRIAL

   1. Ronald J. Hergert, DBA – Ron Hergert Consulting

           a. Mr. Hergert’s statement of opinions and the basis and reasons for them are

              included in his report provided herewith.
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           b. The facts and data considered by Mr. Hergert in forming his opinions are listed

               and/or described and included in his report provided herewith.

           c. The documents referenced in Mr. Hergert’s report have already been provided to

               Defense counsel and / or have been provided to Plaintiff’s counsel by the Defense.

               If additional copies are needed, Defense counsel should contact the undersigned

               and the same will be provided.

           d. Mr. Hergert’s Curriculum Vitae is provided herewith and further information is

               included in the report, including but not limited to, his education, certifications,

               experience, and memberships.

           e. A list of all other cases in which Mr. Hergert has testified as an expert either at

               trial, deposition, or administrative hearings, is provided in his report and/or CV.

           f. Mr. Hergert’s fee schedule is set forth in his CV. He charged $700.00 for his

               initial report.

                                  NON-RETAINED EXPERTS

       The Plaintiff(s) may call any and all treating physicians and/or medical professionals to

opine as to the causation, treatment, and cost of Plaintiff Harold Mark Torbett’s injuries. The

Plaintiff(s) may also call any and all treating physicians and/or medical professionals to opine as

to the effects of the Plaintiff Harold Mark Torbett’s elevated blood sugar at all times relevant

hereto. They are expected to testify, based upon their training and experience, that Plaintiff

Harold Mark Torbett’s encounter with the Defendant Officers resulted in a broken femur,

concussion, and Post Traumatic Stress Disorder, and that Plaintiff Harold Mark Torbett exhibited




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an altered mental state at all times relevant hereto based upon an elevated blood sugar, diabetic

ketoacidosis, and diabetic encephalopathy.



       DATED January 2, 2018.


                                                                     /s/ M. Tanner Clagett
                                                                     M. Tanner Clagett
                                                                     Attorney for Plaintiffs




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                                 CERTIFICATE OF SERVICE


       I hereby certify that I transmitted a true and correct copy of the foregoing Disclosure

without the referenced exhibits or attachments by filing the same with the Court, and with exhibits

and attachments, including Mr. Hergert’s Report, on the following parties by U.S. Mail, first class

postage prepaid and by electronic mail, to:

STEPHEN F. NOEL
Smith Knowles
2225 Washington Blvd., Ste. 200
Ogden, UT 84401
snoel@smithknowles.com



                                                                     /s/ M. Tanner Clagett
                                                                     M. Tanner Clagett
                                                                     Attorney for Plaintiffs




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